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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA

                                       CRIMINAL MINUTES - GENERAL	

	
	


    Case No.      LA CR17-00206 JAK                                                    Date   June 7, 2018


    Present: The Honorable    John A. Kronstadt, United States District Judge

    Interpreter     N/A

            Andrea Keifer                       Alex Joko                                Ellen E. Lansden
            Deputy Clerk                Court Reporter/Recorder                    Assistant U.S. Attorney


          U.S.A. v. Defendant(s):       Present Cust. Bond          Attorneys for Defendants: Present App. Ret.

Trevon Maurice Franklin                   Not               X      Summer Lacey                     X         X


    Proceedings:      CHANGE OF PLEA (Continued)

The change of plea hearing is not held. The Defendant is not present. Defense counsel states that the Defendant
lives in Fresno, California and does not own an automobile. He purchased a ticket to take a Greyhound bus early
this morning and was not permitted to board the bus. Accordingly, defense counsel requests a continuance of the
Change of Plea hearing so that the Defendant can be present. There is no objection by Government counsel.
The Court GRANTS the request and continues the hearing to June 14, 2018 at 8:30 a.m. The Court advises
defense counsel that if the Defendant fails to appear on June 14, a bench warrant may issue for his arrest.


IT IS SO ORDERED.


                                                                                                    :        02

                                                            Initials of Deputy Clerk    ak
cc:




	
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